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D.c.
IN THE UNITED sTATEs DISTRICT COURT 05
FoR THE WESTERN DISTRICT 0F TENNESSEE AUG 19 PH 5, 28
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UNITED STATES OF AMERICA, Wq~_‘ n g §CTCOUHI
Plaintiff,

v. No. 02-20380-BfV

MICHAEL R. SMITH,

Defendant.

 

ORDER DENYING DEFENDANT’S MOTION FOR BAIL PENDING APPEAL

 

Bet`ore the Court is the appeal of an order entered by Magistrate Judge Diane K. Vescovo
on July 25, 2005, denying the gm se motion of Defendant, Michael R. Smith, for bail pending
resolution of his appeal. On July 28, 2004, the Defendant pleaded guilty to Count 5 of the
second superseding indictment to a violation of 18 U.S.C. § 922(g). On November 30, 2004,
Smith was sentenced to a term of imprisonment of 108 months During the course of Smith’s
prosecution, he had been assigned elbow counsel to assist him and this counsel, Bruce Griffey,
of the Shelby County Bar, was later appointed to represent Smith on his appeal. Although Smith
is prohibited from filing plo g motions when he has counsel, the Defendant has disregarded
directives from this Court, which has resulted in a denial of his pg se motions Nonetheless,
the Defendant has continued to file them with the Court. On August 8, 2005, Smith again filed
a pg §_e motion asking that this Court reverse Judge Vescovo’s July 25 ruling and grant him
bond pending appeal.

The statute which applies to Defendant’s request is 18 U.S.C. § 3143(b). That statute

states that a person who has been found guilty of an offense and sentenced to a term of

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imprisonment and has filed an appeal is to be detained unless the judicial officer finds:
(A) by clear and convincing evidence that the person is not likely to
flee or pose a danger to the safety of any other person or the

community if released under Section 3142(b) or (c) of this title;
and

(B) that the appeal is not for the purpose of delay and raises a
substantial question of law or fact likely to result in -
(i) reversal,
(ii) an order for a new trial,
(iii) a sentence that does not include a term of imprisonment, or
(iv) a reduced sentence to a term of imprisonment less
than the total of the time already served plus the
expected duration of the appeal process.
18 U.S.C. §3143(b).

Smith presents nothing in his motion to indicate why the Court might find that he was
not a danger to the community or flight risk or that his appeal might result in a reduced
sentence. In his mg § filing of July 14, 2005, entitled, "Reason Why I Need a Bond" the
Defendant listed several reasons including the fact that he has a wife and children, and that he
has family members in Memphis and has had no violence or drug charges on his record. In
addition, he states that he had made a substantial bond in State Court for the same charges and
that he would abide by whatever restrictions the Court would place on him. This Court, when
serving as a magistrate judge, had previously determined in a ruling on October 21, 2002, that
the Defendant should be held without bond because no condition or combination of conditions
would assure his appearance at trial or the safety of any other person or the community. That
ruling was reaffirmed on August 25, 2003, by the district court.

As to his present request, the Defendant has presented no new or additional evidence which

would cause this judge, now as a district judge, to reverse either his own ruling or that of

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another magistrate judge who has determined that Defendant should not be released pending
appeal.

Accordingly, based upon a g w review of the magistrate judge’s determination, the
undersigned AFFIRMS the magistrate’s order of July 25, 2005 and DENIES Defendant’s request
for a bond pending the resolution of appeal.

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rr ls so oRDERED this 12 day or Augusi, 2005.

 

J. DANIEL BREEN \
Nrr D sTATEs DIsTRICT JUDGE

   

UNITED `SETATSDISTRIC COUR - WTERN D'ST'CT 0 TESSEE

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This notice confirms a copy of the document docketed as number 325 in
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Honorable J. Breen
US DISTRICT COURT

